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May 1, 2018 FILED

UNITED STATES DISTRICT COURT
The Honorable Kristen L. Mix Magistrate Judge DENVER, COLORADO

United States District Court MAY 04 2018
District of Colorado

FFREY P. COLWELL
901 19th Street JE CLERK

Denver, Colorado 80294

 

RE: Defendant Brian Pils! / Case No: 1:17-cv-0250-CMA-KLM
Dear Judge Mix:

| am writing to you to request a protective order to stay discovery until a ruling on my
Defendant’s Motion to Dismiss, Doc 19 filed December 22, 2017 has taken place.

| understand that you must consider the balance of competing interests on both sides of this
case. On one hand, it will be an enormous burden to myself, my wife and the court to proceed
with a potentially unnecessary discovery process. On the other hand, it could cause potential
harm to the Plaintiff to issue the stay.

| am asking you to use your experience and discretion to consider the following compelling
reasons why | think | have good cause to request this stay of discovery.

Type of Case / Litigation History of Plaintiff

During my employment and following my termination of employment with the Plaintiff, the
Plaintiff has aggressively utilized tactics of harassment and threats along with the legal system
to try to subdue me. After accepting my performance, | was terminated and the Plaintiff refused
to pay earned bonus compensation and agree to promised shares of equity in the company.
Even though | believe | was wronged, | simply want to move on with my life. | have no desire to
interfere with the business of the Plaintiff and have done nothing willful or malicious against the
Plaintiff. The Plaintiff has also utilized the same pattern of vexatious litigation in Florida against
my wife, Sarah Pils! (former Director of Partnership Activation at KAABOO) as well as our
long-time family friend and business associate Brian Wingerd (also a former Senior Vice
President at KAABOO). The Plaintiff has a history of using the legal system or threat of legal
action as a hammer against former employees, business partners and associates in several
different venues.

Potential for Settlement

In genuine cases, a stay of discovery may remove the incentive for competing parties to reach a
settlement until the Motion To Dismiss has been decided. In this case the Plaintiff has shown no
interest in reaching a settlement that does not include complete devastation to my reputation
and financial health. Additionally, the Plaintiff is trying to make it extremely difficult for me to
continue working in my area of expertise. The Plaintiff has continually and purposefully dragged
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out both my case and the case of my wife in separate venues to try to force us into an unfair and
unjust resolution while inflicting as much injury as possible along the way.

Financial Burden on the Defendant

Upon termination of my employment and the employment of my wife, the Plaintiff pursued a
strategic game plan to ensure that he would not need to pay agreed upon bonus compensation
even after accepting our performance. Part of this tactic was to try to harass us into signing
burdensome documents that we are under no obligation to sign. With the loss of both of our
incomes and earned bonus compensation as well as the significant costs of trying to mount a
simultaneous defense in Florida and Colorado, my wife and | are now in a financial hole that will
take us years if not a decade to overcome. Our current counsel, Dan Anderson, was granted a
motion to withdraw as counsel from my case in Colorado and has now submitted a motion to
withdraw from my wife’s case in Florida. Admittedly, we simply do not have the financial means
to keep current with our legal bill, let alone our household obligations. We are now trying to
defend ourselves in two separate Federal Court Districts against a well-financed opponent with
significant legal resources in his corner.

Pattern of Abuse of Discovery

In both my case and the case against my wife in Florida, the Plaintiff has continued to utilize a
pattern of harassment with the intent to subdue us into a one-sided settlement. This Plaintiff has
shown that he will strategically use the discovery process to try to conduct broad fishing
expeditions designed to unconstitutionally invade our privacy so that we will suffer severe
additional annoyance, embarrassment, oppression and financial burdens.

Potential Harm to the Plaintiff

From the beginning of our business relationship and following my termination by the Plaintiff |
have tried to negotiate agreements that are fair to both sides and also performed well beyond
the normal realm of expectations to help build a successful business from scratch. In the same
sense of fairness, | am cognizant that you must weigh the potential harm to the Plaintiff if you
order a stay of discovery. In this case, there is no risk of spoilage of evidence, the Plaintiff has
not shown any irreparable harm that has occurred and would continue to occur if the stay for
discovery was granted and the Plaintiff is under no financial stress to resolve this case in an
expedient and fair manner. To the contrary, the Plaintiff is actively involved in the strategic use
of his and/or his company’s legal war chest in ways specifically designed to be more expensive.
Additionally, contrary to the claim that we have somehow harmed his business, the Plaintiff is
enjoying the economic benefits of our work product and has recently announced new
partnerships for events in Cayman Islands and in Dallas with the Dallas Cowboys while we have
been suffering under the oppression of his legal maneuvers and loss of employment.

Preliminary Peek

in addition to the elements | have detailed above, | respectfully submit that the Defendant's
Motion To Dismiss (Doc 19) and Defendant's Affidavit In Support Of Motion To Dismiss contain
the most relevant information in this dispute. | believe that if you take a “preliminary peek” at
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these documents you will find them to be clearly meritorious as well as truly case dispositive. |
believe a preliminary peek would also show that the Plaintiff has not shown enough factual
matter to nudge his claims across the line from conceivable to plausible.

| am hoping you will agree that | have presented good cause to order a protective stay of
discovery until the Court has had time to rule on my pending Motion To Dismiss.

Thank you very much for your valuable time and consideration.

Respectfully,

  

 

Brian Pils!
Defendant

Copies Also Mailed To:

CLERK OF THE COURT
United States District Court
District of Colorado

901 19th Street

Denver, Colorado 80294

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